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CIVIL COVER SHEET

®& Is 44 (Rev. 12/07) (CAND Rev. 1/10)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON PAGE TWO OF THE FORM.)

I.(a) PLAINTIFFS

Service Employees International Union,

Local 1021

DEFENDANTS

North Bay Regional Center,

Inc.

 

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

San Francisco

(c) Attorney’s (Firm Name, Address, and Telephone Number)
Vincent A. Harrington, Jr.
Weinberg, Roger & Rosenfeid

1001 Marina Village Parkway, Suite 200
CA 94501

Alameda,
(510) 337-1001

 

County of Residence of First Listed Defendant Napa
CIN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

Attorneys Uf Known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) I, CITIZENSHIP OF PRINCIPAL PARTIES lace an “x” in One Box for Plaintiff
or Diversity Cases Onl id One Box for Defendant
[J 1USs. Goverment [3X] 3 Federal Question € 4 7 ald hha
Plaintiff (U.S. Government Not a Party) na c Hs Oo
Citizen of This Stat 1 1 In ted or Principal Pl: 4 4
[_] 2U.S. Government (14 Diversity Seen —— fl of Business In This State
Defendant Oncicat oa p of Parties Citizen of Another State CJ2 (2 Incorporated and Principal Place Cos Cs
of Business In Another State
Citizen or Subject of a C)3 C3 Foreign Nation Ci« Ce
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY "_BANKRUPTCY _| _ OTHER STATUTES
[_]110 insurance {([] 610 Agriculture [1422 Appeal 28 USC 158][_] 400 State R i
: eapportionment
120 Marine 4 310 Airplane (J 362 Personal injury - | 620 Other Food & Drug [_] 410 Antitrust
[1130 Miller Act 315 Airplane Product Med. Malpractice [| 625 Drug Related Sei [__]423 Withdrawal [ __] 430 Banks and Banking
(_] 140 Negotiable Instrument [220 Aa Live & {7} 365 poem - of Property 21 USC 881 28 USC 157 [__] 450 Commerce
150 Recovery of Overpayment ae Pees all] 630 Liquor Laws PROPERTY RIGHTS _|—J 460 Deportation
& Enforcement of Judgment Seue [_] 368 Asbestos Personal [__] 470 Racketeer Influenced
(1151 Medicare Act [_] 330 Federal Employers Injury Product j[__] 640 RR. & Truck [_]820 Copyrights and Corrupt Organizations
Liability Liability [_] 650 Airline Regs. {—_] 480 Consumer Credit
{1152 Recovery of Defaulted oO , . {1830 Patent
Student Loans (Exel, Veterans) ——) 240 Marine PERSONAL PROPERTY|[__] 660 Occupational 340 Trademart [| 490 Cable/Sat TV
: [_] 345 Marine Product Safety/Health [7] 810 Sel Servi
153 Recovery of Overpayment Liability | 370 Other Fraud [_] 690 Other J tiv ervice .
so Sothweecte []350 Motor Vehicle (_]371 Truth in Leading LAEOR SOCIAL SECURITY a
5 160 Stockholders’ Suits [—_]355 Motor Vehicle [(_] 380 Other Personal {[—_]710 Fair Labor Standards [1861 HIA (1395ff) Cars Cautee! Challenge
Cl 190 as Saige Liabili Product Liability Property Damage Act Lj 862 Black Lung (923) 12 USC 3410
= 135 Cones juct Liability [_] 360 Other Personal 385 Property Damage (X]720 Labor/Mgmt. Relations [— ]363 prwc/pIww — 890 Other Statutory Actions
ranchise Injury Pre aeast Habit [) 730 Labor/Mgmt. Reporting (405(g)) 891 Agricultural Acts
REAL PROPERTY CIVIL RIGHTS PETITIONS Cm perce Act | 864 SSID Title XVI 892 Economic Stabilization
: way Labor Act 7 Act
[__]210 Land Condemnation T | _ Voting CI $10Motions to Vacate |—]790 Other Labor Litigation 865 RSI (405(g)) 893 Environmental Matters
[J 220 Foreclosure ne Howsicglit Habeas Conpax: [-_]791 Empl. Ret. Inc. FEDERAL TAX SUITS 894 Energy Allocation Act
[1230 Rent Lease & Ejectment Accommodations 530 General Security Act 870 Taxes (U.S. Plaintiff L__] 895 = of Information
eel isc. ovasoaes se TT eaNataieaicn Aprlicaton laa are [--] 900 Appeal of Fee
eae, | at n :
(J 245 Tort Product Liability 445 Eneyaes tt 540 Mandamus & other [1463Habeas Corpus - [ —}871 IRS - Third Party Determination Under
(_]290 All Other Real Property | 1446 Amer. w/Disabilities -|___] 550 Civil Rights I Alien Deiainee 26 USC 7609 J Equal Access to Justice
Other . aes 465 Other Immigration 950 Constitutionality of
ry 440. Other Civil Rights Co 555 Prison Condition Actions State Statute
V._ ORIGIN lace an “‘X” in One Box Onl Appeal to District
CX1 1 Original 2 Removed from 3 Remanded from [_] 4 Reinstated or [_] 5 eae from (—]6 Multidistrict (17 Judge from
Proceeding State Court Appellate Court Reopened another district Litigation Magistrate
(specify) Judgment

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing @o not cite jurisdictional statutes unless diversity):

 

 

Brief description of cause: . ' .
Petition to compel arbitration of labor-management dispute.

VII. REQUESTED IN [(] CHECK IF THISISACLASS ACTION DEMANDS

(_] CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: [—] Yes [CXI]No
VIII. RELATED CASE(S) PLEASE REFER TO CIVIL LR, 3-12 CONCERNING REQUIREMENT TO FILE

IF ANY "NOTICE OF RELATED CASE".
IX. DIVISIONAL ASSIGNMENT (CIVIL L.R. 3-2)

(PLACE AND "X" IN ONE BOX ONLY) CX] SAN FRANCISCO/OAKLAND [_] SAN JOSE [_] EUREKA
DATE SIGNATURE OF A’ eM Vincent A. Harrington, Jr.
January 24, 2011 —_———

VV : NDC-JS44
